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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )         4:01CR3105
                                           )
                    Plaintiff,             )
                                           )
      vs.                                  )
                                           )         ORDER
MIAI J. LEWIS,                             )
                                           )
                    Defendant.             )

      On the court’s own motion,

       IT IS ORDERED that Defendant Lewis’ revocation hearing is continued to 2:30 p.m.
on Thursday, December 20, 2007, before the undersigned United States district judge, in
Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      December 19, 2007.                BY THE COURT:

                                        s/ Richard G. Kopf
                                        United States District Judge
